                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr105


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
DARRYL EUGENE MILLS (1)                  )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on retroactive amendments to the United States Sentencing Guidelines relating to

crack cocaine offenses (Doc. No. 74), and the government’s response (Doc. No. 79).

       The defendant pled guilty to conspiring to possess at least 5 but fewer than 50 grams of

cocaine base with intent to distribute (Count One) and possession of a firearm in furtherance of a

drug trafficking crime (Count Eight). (Doc. No. 48: Judgment at 1; Doc. No. 24: Plea Agreement

at 1-2). The resulting offense level of 30 was reduced by 3 for accepting responsibility.

(Presentence Report (PSR) at ¶¶ 20, 27). Combined with a criminal history category of VI, the

resulting advisory guideline range was 130-162 months, plus 60 months for the firearms charge.

(Doc. No. 49: SOR at 1). The Court sentenced the defendant to 130 months’ imprisonment on

Count One plus 60 months on Count Eight, the low end of the range. (Doc. No. 48: Judgment at

2).

       The defendant moves to reduce his sentence based on retroactive amendments to the

guidelines relating to crack cocaine offenses. (Doc. No. 74). As amended, USSG §1B1.10(b)(1)

directs courts to determine the guideline range as if the amendments had been in place at the time




        Case 3:05-cr-00105-RJC         Document 83        Filed 12/28/10     Page 1 of 3
of sentencing. The amended offense level for possessing at least 35 but fewer than 50 grams of

cocaine base is 28. USSG Supp. to Appx. C., Amend. 706 (2007). The subtraction of 3 levels for

acceptance of responsibility, results in a total offense level of 25 for Count One. The amended

guideline range, given a criminal history category of VI, is 120-137 months.1 The defendant and

the government recommend imposing a 120-month sentence on Count One, the low end of the

amended range. (Doc. No. 74: Motion at 5; Doc. No. 79: Response at ¶ 9).

       Consistent with 18 U.S.C. § 3582(c)(2), the Court has considered the factors set forth in

18 U.S.C. § 3553(a), as well as the defendant’s post-sentence conduct and the public’s safety.

Based on these factors, the Court finds that a reduction of the defendant’s sentence would

accomplish the goals of sentencing.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED and the

defendant’s sentence on Count One is reduced to 120 months’ imprisonment.

       IT IS FURTHER ORDERED that, that upon release from imprisonment, and absent a

residential plan accepted by the U.S. Probation Officer prior to release from incarceration, as a

condition of supervised release the defendant shall submit to the local Residential Reentry Center

for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation

Officer. All other terms and conditions previously imposed remain unchanged.




       1
         The defendant is subject to a ten-year mandatory minimum sentence for the cocaine
base offense. 21 U.S.C. §§ 841(b)(1)(B) and 851.

                                                 2


        Case 3:05-cr-00105-RJC          Document 83        Filed 12/28/10     Page 2 of 3
       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the Community Defender, the United States Attorney, the United States Marshals

Service, and the United States Probation Office.

                                                   Signed: December 28, 2010




                                                   3


       Case 3:05-cr-00105-RJC          Document 83        Filed 12/28/10      Page 3 of 3
